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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN JOSE DIVISION

NO: C 06-01407 JW
In re: County of Monterey Initiative Matter NO: C 06-02202 JW

RESPONSE TO RANGEL PLAINTIFFS
MOTION FOR INJUNCTION PENDING
APPEAL

and

Inre: Monterey Referendum

Date: To Be Determined
Time:

Place: Courtroom 8

Judge: Honorable James Ware

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RESPONSE TO RANGEL PLAINTIFFS MOTION FOR INJUNCTION PENDING APPEAL —

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In case Nos. C 06-01407 JW and C 06-02202 JW, defendants County of Monterey, the Board Of
Supervisors of the County of Monterey, and Anthony Anchundo (County Defendants) hereby respond to
the Rangel plaintiffs’ motion for an injunction pending appeal.

I. FACTUAL BACKGROUND

As the Court knows, the County Defendants have been of the view that, with respect to the
referendum matters, the Rangel plaintiffs were correct and the Rancho San Juan plaintiffs were not
correct. That is, County Defendants have taken the position throughout this litigation that referendum
petitions are subject to the translation requirements of the Federal Voting Rights Act (FVRA).

However, in its Order and Summary Judgment dated March 29, 2007, this Court held that
referendum petitions are not subject to the FVRA’s translation provisions. While the Court’s
determination was contrary to the County Defendants’ view, they have nevertheless accepted it and the
subject referendum measure, now known as Measure D, has been placed on the June 5, 2007 ballott
Declaration of Susan Orman, { 3.

Nevertheless, the County Defendants are again caught in the middle of a struggle over the June
5, 2007 election because the Rangel plaintiffs are appealing this Court’s March 29, 2007 decision.
Although they neither oppose nor support the Rangel plaintiffs’ motion, the County Defendants do need
to address the practical issues to the Court relating to the requested relief.

Il. LEGAL ARGUMENT: IF IT GRANTS THE MOTION, THE ONLY REQUESTED

RELIEF THIS COURT CAN PROVIDE IS THE THIRD OPTION, NOT COUNTING

THE VOTES ON MEASURE D

The Rangel plaintiffs ask for three types of relief alternatively. However, because of the status
of matters, only the third type of relief would be possible at this point. The County Defendants’
reasoning is set forth below.

The first type of relief that the Range plaintiffs request is that Measure D not be printed on the
ballot and that it not be sent to the voters. This request is untimely. To explain, all election materials for

printing were transmitted by the County to the printers on April 9, 2007, and the printers were given the

1 The County Defendants have not determined whether to appeal the Court’s ruling.
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approval to prepare the proof copies of the ballot and to prepare for printing all of the ballots and the
accompanying election materials on April 13, 2007. Orman Dec., 4 3. The ballot proposition at issue
here is Measure D, but there are also three other measures on the June 5, 2007 ballot. Jd. Were this a
single issue ballot, presumably any type of relief would still be available, albeit at some cost to the
County. However, there are four separate ballot measures on the June 2007 ballot, including: Measure
D (this Measure); the County’s own measure concerning its 2006 General Plan (Measure B); a citizens”
referendum on the same matter (Measure C); and the initiative measure which has been the subject of
the Madrigal and Melendez cases and which was placed on the ballot after the Ninth Circuit’s reversal
of itself in Padilla (Measure A). At this point no one is contesting the appropriateness of the first three
measures being on the ballot.2. As a result, the question is whether the County can remove Measure D
from the ballot as requested by the Rangel plaintiffs, and still go ahead with the election on the other
three measures which will appear on the same printed ballot.

Here, the County cannot remove Measure D from the ballot and still allow voters to vote on

| Measures A, B and C. Orman Dec., {9 3,4. The ballots and other related materials were sent to the

printers on April 9, 2007, and must be finalized by April 13, 2007 in order to allow the County sufficient
time to send the ballots to the voters. Therefore, the request for the first alternative by the Rangel
plaintiffs, that Measure D not go to the voters, is not possible from a practical stand point unless the
Court were to stop the entire election.

The second type of relief requested by the Rangel plaintiffs — that even if Measure D remains on
the ballot, the voters should be instructed not to vote on it — is equally inappropriate from a practical
standpoint. If the Court were to grant this relief, it would create a number of questions, including (a)
how does the County ensure that the ballot, which asks voters to vote on Measure D, also be

accompanied by the material that says not to vote on Measure D; and (b) how does the County ensure

2 A group, including some of the same parties to these cases, challenged the placement Measure B,
described above, the County’s referendum of its own 2006 General Plan. However, that challenge was
denied by the Superior Court, and now recently by the Court of Appeal on April 9, 2007. (Declaration of
Stephen N. Roberts, Ex. A.) Unless the opponents of such a measure interest the California Supreme

Court in the case, it will be on the June 5, 2007 ballot.
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that all voters receive this mstruction? To accomplish that, the instructions would have had to be printed
on the ballot itself or with the ballot materials described in Ms. Orman’s Declaration, and those
materials, including the “no vote on Measure D” instruction, would have to be sent to the voters with the
ballot and the ballot materials. See, e.g., Orman Dec., 73. Otherwise, as a practical matter, it is unclear
the County would be able to deliver notice to the same persons who are receiving the ballots and voting
on them. But it is too late to change what is already being printed. /d. at {/ 3-6. Moreover, the concept
of sending a ballot along with instructions telling voters not to vote would be confusing to voters.

The third type of relief requested by the Range plaintiffs’ — to vote on a measure which is on the
ballot, but that the votes not be counted unless the decision on appeal is not in their favor — is the only
viable form of relief. If this Court issues an opinion by April 27, 2007, there will be a sufficient period
of time before the June 5, 2007 election for the County to program its computers to count the ballots
without counting the votes for Measure D. Orman Dec, J 7.

If. CONCLUSION

Although the County Defendants take no position one way or another on the substance of the
Rangel plaintiffs’ motion, the relief requested by the Rangel plaintiffs causes many practical difficulties.
Accordingly, the County Defendants request that, if the Court considers any injunctive relief, the relief
granted should be limited to the third option: to count the votes on Measure D after the decision on

appeal of this case issues.

Dated: April 11, 2007 NOSSAMAN, GUTHNER, KNOX & ELLIOTT, LLP

By: _ We Nh

STEPHEN N. ROBERTS

Attomeys for Defendants

COUNTY OF MONTEREY, THE BOARD OF
SUPERVISORS OF THE COUNTY OF MONTEREY, AND
ANTHONY ANCHUNDO

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